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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 19-cv-00555-CMA-KLM

   ALEXANDER NOEL GARCIA,

         Plaintiff,

   v.

   HEFNER, Deputy, ACDF,
   TITUS, Deputy, ACDF Housing,
   JOHN DOE, Deputy, ACDF,
   YNIGUEZ, Deputy, ACDF,
   MOHR, Deputy, ACDF,

         Defendants.


                        ORDER DENYING LEAVE TO PROCEED
                       ON APPEAL PURSUANT TO 28 U.S.C. ' 1915


         Plaintiff has filed pro se a Motion to File Without Payment of Filing Fee (ECF No.

   98), liberally construed as a motion to proceed in forma pauperis on appeal. The

   motion is deficient because it is not submitted on the proper court-approved form. In

   addition, the Court finds pursuant to 28 U.S.C. § 1915(a)(3) that this appeal is not taken

   in good faith because Plaintiff has not shown the existence of a reasoned, nonfrivolous

   argument on the law and facts in support of the appeal.

         Accordingly, it is
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         ORDERED that the Motion to File Without Payment of Filing Fee (ECF No. 98) is

   denied.

         DATED: December 7, 2021

                                         BY THE COURT:


                                         CHRISTINE M. ARGUELLO
                                         United States District Judge
